    Case 1:01-cv-12257-PBS Document 6528-84 Filed 09/22/09 Page 1 of 4




                               Exhibit 83



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
        Case 1:01-cv-12257-PBS Document 6528-84 Filed 09/22/09 Page 2 of 4
Vladeck, Ph.D., Bruce C. - Vol. II                                  June 21, 2007
                                   New York, NY

                                                                           Page 285
               UNITED STATES DISTRICT COURT

          FOR THE DISTRICT OF MASSACHUSETTS

    -----------------------------------X       MDL NO. 1456

    IN RE:    PHARMACEUTICAL INDUSTRY      :   CIVIL ACTION:

    AVERAGE WHOLESALE PRICE LITIGATION :       01-CV-12257-PBS

    -----------------------------------X

    THIS DOCUMENT RELATES TO:              :

    U.S. ex rel. Ven-A-Care of the         :   CIVIL ACTION:

    Florida Keys, Inc. v. Abbott           :   06-CV-11337-PBS

    Laboratories, Inc.                     :

    -----------------------------------X



                 IN THE CIRCUIT COURT OF

               MONTGOMERY COUNTY, ALABAMA

    -----------------------------------X

    STATE OF ALABAMA,                      :   CASE NO.

                Plaintiff,                 :   CV-05-219

         v.                                :

    ABBOTT LABORATORIES, INC.,             :   JUDGE

    et al.,                                :   CHARLES PRICE

                Defendants.                :

    -----------------------------------X




                         Henderson Legal Services
                               202-220-4158

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                Case 1:01-cv-12257-PBS Document 6528-84 Filed 09/22/09 Page 3 of 4
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                                                    New York, NY
                                                     Page 286                                                             Page 288
 1   STATE OF WISCONSIN CIRCUIT COURT DANE COUNTY                  1     IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
 2   -----------------------------------X                          2                  STATE OF MISSOURI
 3   STATE OF WISCONSIN,                    : CASE NO.             3   - - - - - - - - - - - - - - - - - -x
 4           Plaintiff,           : 04-CV-1709                     4   STATE OF MISSOURI, ex rel.,                     :
 5       v.                     :                                  5   JEREMIAH W. (JAY) NIXON,                          :
 6   AMGEN INC., et al.,                  :                        6   Attorney General,                       :
 7           Defendants.             :                             7   and                              :
 8   -----------------------------------X                          8   MISSOURI DEPARTMENT OF SOCIAL                            :
 9                                                                 9   SERVICES, DIVISION OF MEDICAL                         : Case No.:
10            IN THE COURT OF COMMON PLEAS                        10   SERVICES,                              : 054-1216
11              FIFTH JUDICIAL CIRCUIT                            11                 Plaintiffs,          : Division
12   -----------------------------------X                         12                                 : No. 31
13   STATE OF SOUTH CAROLINA, and                 : STATE OF      13            vs.                   :
14   HENRY D. McMASTER, in his official : SOUTH CAROLINA          14   DEY INC., DEY, L.P., MERCK KGaA, :
15   capacity as Attorney General for : COUNTY OF                 15   EMD, INC., WARRICK                            :
16   the State of South Carolina,         : RICHLAND              16   PHARMACEUTICALS CORPORATION,                               :
17           Plaintiff,           :                               17   SCHERING-PLOUGH CORPORATION, and :
18       v.                     : CIVIL ACTION:                   18   SCHERING CORPORATION,                               :
19   MYLAN LABORATORIES, INC.                   : 07-CP-40-0283   19                 Defendants.            :
20           Defendant.              :                            20   - - - - - - - - - - - - - - - - - -x
21   -----------------------------------X                         21
22                                                                22
                                                     Page 287                                                             Page 289
 1      IN THE COURT OF THE SECOND JUDICIAL CIRCUIT     1                               New York, New York
 2            IN AND FOR LEON COUNTY, FLORIDA           2                               Thursday, June 21, 2007
 3   THE STATE OF FLORIDA                               3
 4   ex rel.                                            4                     CONTINUED Videotaped Deposition of
 5   - - - - - - - - - - - - - - - - - -x               5              BRUCE C. VLADECK, Ph.D., a witness herein, called
 6   VEN-A-CARE OF THE FLORIDA                       :  6              for examination by counsel for Abbott Laboratories
 7   KEYS, INC., a Florida                   :          7              in the above-entitled matter, pursuant to
 8   Corporation, by and through its :                  8              Subpoena, the witness being duly sworn by JOMANNA
 9   principal officers and directors, :                9              DEROSA, a Notary Public in and for New York, taken
10   ZACHARY T. BENTLEY and                        :   10              at the offices of Jones Day, 222 East 41st Street,
11   T. MARK JONES,                           :        11              New York, New York, at 8:54 a.m. on Thursday, June
12                 Plaintiffs,         :               12              21, 2007, and the proceedings being taken down by
13            vs.                   : Civil Action     13              Stenotype by JOMANNA DEROSA, and transcribed under
14   MYLAN LABORATORIES, INC.; MYLAN : No.: 98-3032G 14                her direction.
15   PHARMACEUTICALS INC.; NOVOPHARM : Judge:          15
16   LTD., SCHEIN PHARMACEUTICAL, INC.; : William L.   16
17   TEVA PHARMACEUTICAL INDUSTRIES : Gary             17
18   LTD., TEVA PHARMACEUTICAL USA; :                  18
19   and WATSON PHARMACEUTICALS, INC. :                19
20                 Defendants.            :            20
21   - - - - - - - - - - - - - - - - - -x              21
22                                                     22

                                                                                               2 (Pages 286 to 289)
                                      Henderson Legal Services
                                            202-220-4158

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                                          New York, NY
                                           Page 382                                                   Page 384
 1        A.    I would distinguish two processes.       1   acquisition cost, and the estimated acquisition
 2   There are political considerations that, in         2   cost would be determined based upon a survey of
 3   addition to legal considerations, prevented us      3   the actual invoice prices paid for the drug?
 4   from seeking to change the policy                   4              Is that correct?
 5   administratively. And then there was political      5        A. That's correct.
 6   opposition to -- efforts to change the law itself.  6        Q. And that in estimating the
 7        Q.    And so, it wasn't -- what I'm            7   acquisition cost, the agency or the agency's
 8   trying to get at is HCFA wasn't overpaying because 8    carriers, at least, would be allowed to include
 9   it was fooled into believing that what it was       9   such factors as inventory waste and spoilage.
10   paying was actual acquisition costs.               10              Right?
11             Correct?                                 11        A. That's correct.
12             MS. LIANG: Object to the form.           12        Q. As I understand it, HCFA never
13             MR. BREEN: Objection. Form.              13   undertook the surveys authorized by Section
14             MS. BROOKER: Objection. Form.            14   405.517. Right?
15        A.    We did not believe we were paying       15        A. Not to get into semantics, the
16   actual acquisition costs.                          16   surveys were never, in fact, conducted, I believe.
17             MR. COOK: Let's take a short             17        Q. Who was responsible for -- well,
18   break.                                             18   let me strike that.
19             THE VIDEOGRAPHER: The time is            19              Did HCFA take any steps towards
20   10:47 a.m. We're going off the record, concluding 20    conducting such surveys?
21   Tape No. 7.                                        21        A. My understanding, which, frankly, I
22                (Recess taken.)                       22   think is based on information that's become
                                           Page 383                                                   Page 385
 1             THE VIDEOGRAPHER: The time is             1   available to me in the course of either my
 2   11:01 a.m. We're going back on the record,          2   preparation for this deposition or my earlier
 3   starting Tape No. 8.                                3   involvement with Mr. Azorsky on the other
 4        Q.     Dr. Vladeck, I'd like to ask you        4   litigation, is that HCFA actually was prepared to
 5   just a few questions about the attempted survey     5   direct its carriers to undertake this survey, and
 6   that HCFA undertook pursuant to 42 CFR 405.517, as 6    then the process was stopped -- I believe I have
 7   it was promulgated in November of 1991.             7   been told, or I read somewhere that that was
 8             I've asked you to turn to Exhibit         8   because the Office of Management and Budget
 9   Abbott 038 in the exhibit books before you.         9   refused to approve the survey instrument itself.
10             MR. COOK: And for the record,            10        Q. Do you know why it was the Office
11   Exhibit Abbott 038 is a copy of that regulation    11   of Management and Budget refused to approve the
12   from 1991 before it was amended several years      12   survey?
13   later.                                             13              MS. BROOKER: Objection. Form.
14        Q.     And if you could look to Paragraph     14        A. I don't know why. I am -- I am
15   B, which describes the methodology. Do you see     15   aware that in that time period the Office of
16   that?                                              16   Management and Budget was very sensitive to
17        A.     Yes, sir.                              17   concerns about allegations about the burden that
18        Q.     And am I correct that Paragraph B      18   government surveys in general were imposing on the
19   describes the methodology under which HCFA would 19     private sector that was, in part, the rationale
20   pay for drugs under Part B -- as Part B of         20   for why OMB had to approve all surveys.
21   Medicare -- at the lower of either the national    21              And it is my understanding, again,
22   average wholesale price or the estimated           22   secondhand or thirdhand, that there was
                                                                              26 (Pages 382 to 385)
                               Henderson Legal Services
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